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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

NATIONAL TREASURY
EMPLOYEES UNION, et al.,
Plaintiffs,
“ Case No. 25-cv-381-ABJ
RUSSELL VOUGHT, in his official capacity
as Acting Director of the Consumer Financial
Protection Bureau, et al.,
Defendants.

DECLARATION OF MATTHEW PFAFF
I, Matthew Pfaff, declare as follows:

l. I am employed at the Consumer Financial Protection Bureau, where I currently
serve as the Chief of Staff for the Office of Consumer Response. Consumer Response ts the unit
responsible for “the centralized collection of, monitoring of, and response to consumer
complaints,” as well as sharing data, as required by 12 U.S.C. § 5493(b)(3)(A)-(D). It is also
responsible for executing one of the CFPB’s primary functions of “collecting, investigating, and
responding to consumer complaints” and providing “timely regulator response to consumers” as
required by 12 U.S.C. § 5511(c)(2) and 12 U.S.C. § 5534(a), respectively. As the Chief of Staff, I
am responsible for leading the Office’s efforts to meet its statutory obligations and support CFPB
priorities and initiatives. | started serving as the Chief of Staff on February 14, 2021. I have been
with the CFPB since October 2013, and | have worked in the Office of Consumer Response the
entire time. The following is based on my personal knowledge or information provided to me while

performing my duties.
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The CFPB’s Consumer Complaint Process

2. The CFPB’s consumer complaint process is the primary way that the CFPB hears
from individuals and families about problems they experience with bank accounts, mortgages,
credit reporting, and other consumer financial products. These complaints come from active-duty
military members, veterans, rural consumers, older Americans, and students. They come from all
50 states. They come from individuals of all backgrounds and all socio-economic statuses.

3. Submitting a complaint is simple. Consumers can submit complaints online, over
the phone, and by mail. Other federal agencies (e.g., Office of the Comptroller of the Currency,
Federal Deposit Insurance Corporation, Federal Trade Commission, Federal Reserve, National
Credit Union Administration), states, congressional offices, and the White House can also refer
complaints to the CFPB for processing.

4, Processing complaints at scale, however, is much more complex. Once the CFPB
is in receipt of a complaint, it will ensure that the complaint is complete and direct the complaint
to a company for a response or to another federal agency for handling. Complaints meeting the
CFPB’s publication criteria are eligible for inclusion in the public Consumer Complaint Database.

5. The complaint process has proven to be an efficient and effective forum for
everyday people to have their problems addressed. Indeed, of the more than 2.7 million complaints
published in the CFPB’s Consumer Complaint Database last year, companies provided a timely
response 99.7% of the time and reported providing money back or other relief (e.g., corrections to
consumer reports) in about half of those complaints. Since the CFPB opened its doors, companies
have reported returning more than $300 million dollars in response to complaints. Companies have
also reported that they discontinued mortgage foreclosure proceedings, cancelled student loans,

refunded incorrect late fees, and reversed transactions for consumers who were scammed.
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The Declaration of Adam Martinez

6, I have reviewed the declaration that the CFPB’s Chief Operating Officer and Acting
Chief Human Capital Officer, Adam Martinez, submitted in this case. ECF No. 31-1. Mr. Martinez
summarily concludes that “[t]he Bureau is performing its statutory obligations, including those
listed in 12 U.S.C. § 5493(b)(3)(A).” Jd. at §| 22. Mr. Martinez also declares that “[o]perations
related to the Consumer Complaint Database are continuing and that “[c]ontracts needed for work
related to the Consumer Complaint Database have remained intact and operational.” /d.

7. Mr. Martinez’s statements are misleading, inaccurate, or both.

8. Mr. Martinez’s statements further demonstrate a lack of understanding about the
consumer complaint program. When individuals or their representatives submit a complaint to the
CFPB, the complaint is submitted to and included in a case management system. This case
management system allows consumers, companies, and the CFPB to securely share information
and engage in the complaint process. This case management system is also how both the CFPB
and companies can deliver timely responses to consumers as required by law. Information from
the case management system populates other systems to meet data sharing requirements with
federal and state agencies, as well as with the public via the Consumer Complaint Database.
People—both federal employees and contractors—make this entire operation run successfully.

9, On Monday, February 10, 2025, Acting CFPB Director Russell Vought directed
staff to “not perform any work tasks” and to “stand down from performing any work task.” /d. at
Ex. F. Consumer Response staff complied with the Acting Director’s order. As a result of this
compliance, the “operations related to the Consumer Complaint Database” are not “continuing.”
And many of the “contracts needed for work related to the Consumer Complaint Database” have

not “remained intact and operational.”
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Operations Related to the Consumer Complaint Program
and Database are Not Continuing

10. | Consumer Response is composed of several teams, each tasked with carrying out
one (or a set of) the CFPB’s statutory obligations. On February 13, 2025, members of the
“Department of Government Efficiency” (DOGE) requested that Consumer Response define
competitive areas—areas explicitly required by statute—for purposes of a Reduction in Force
(RIF). I drafted a memo that provided information about the teams within Consumer Response
that align to specific statutory obligations. Mr. Martinez was provided a copy of this memo. A copy
of that memo is attached hereto as Exhibit A.

11. None of the teams listed in the memo, which align to statutory obligations, have
been activated to work. As a result, the complaint handling operation has experienced a significant
disruption.

12. | Complaints referred by congressional offices, states, and most federal agencies are
not being reviewed and sent to companies. These complaints require federal staff to review and
process.

13. Complaints about companies that are not yet participating in the complaint program
are not being addressed. These complaints require federal staff review and a manual invitation to
participate in the program.

14. | Complaints in which consumers misspelled the name of the company are not being
sent to companies. These complaints require federal staff review and manual processing.

15. Incomplete complaints are not being processed or worked by anyone. These
complaints require federal staff to conduct outreach to consumers for additional information.

16. Taken together, in these categories alone, I expect that more than 10,000 complaints

are currently awaiting federal staff review. This is a large and unprecedented backlog.
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17. | Complaints are not being “monitored.” Consumer Response has a team of subject
matter experts who monitor complaints to ensure that consumers are receiving timely, accurate,
and complete responses to their complaints. Subject matter experts also monitor complaints for
emergent issues across market and at companies. This ongoing monitoring provides a necessary
check on the complaint program to ensure that consumers receive meaningful responses. Without
this work, company responses are likely declining in quality.

18. Complaints are not being “investigated.” In addition to monitoring complaints,
subject matter experts perform targeted investigations on certain complaints. These investigations
typically involve asking companies follow-up questions to ensure rules and regulations have been
followed. And often, these targeted investigations yield additional relief for consumers.

19. Escalated issues are not being addressed. Consumer Response’s Escalated Case
Management team responds to consumers who are facing imminent foreclosure, may be a risk to
others or themselves, and other sensitive issues.

20. Complaint systems, including the case management system and systems for sharing
data, are not being maintained. Complaint systems require federal and contractor staff to monitor
and respond to issues affecting system health. Automatically generated error notices indicate the
system has already experienced problems. If these errors are not addressed, at some point, the
system will break entirely. Additionally, companies that receive complaints through this system
have received error notices that they are unable to export complaints out of the system, which will
impede their ability to review and respond to complaints.

21. Stakeholder support tickets are not being resolved. Consumer Response receives
hundreds of support tickets every month from company, congressional, and government

stakeholders. Support tickets range from companies trying to remedy potential privacy concerns
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to resetting passwords. These tickets are not being reviewed and resolved, which is almost certainly
frustrating the ability of stakeholders to complete their work.

22. Coordination with other federal regulators is not occurring. Indeed, | am aware of
at least one federal agency that has noted the disruption in complaint processing. This disruption
in timely referrals mean that other federal agencies will not be able to initiate their investigative
processes.

23. Complaints submitted by servicemembers and their families are not being
monitored. It is my understanding that no one from the Office of Servicemember Affairs has been
activated to work.

24. Student loan complaints are not being reviewed and informally resolved. The
Student Loan Ombudsman role is vacant. Mr. Martinez seemingly suggests that the CFPB
Ombudsman is an appropriate substitute. Yet again, this reflects a basic misunderstanding of the
functions of that office and the authorities granted to the CFPB Ombudsman by the Consumer
Financial Protection Act. The CFPB Ombudsman does not assist in resolving any issues between
consumers and companies; rather, it merely ensures that the CFPB is following its own internal
processes and procedures.

25. Audits and quality controls have halted. Consumer Response maintains an audit
function that ensures complaint processes and procedures are being followed, and vendors are
appropriately interacting with members of the public. This function also responds to oversight
inquiries, such as those from the CFPB Ombudsman and the Office of Inspector General. There ts

currently no one performing these essential functions.
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26. Activities to monitor and safeguard the system to prevent bad actors from misusing
it have stopped. This risks overwhelming the system and wastes the CFPB’s technical resources
and the resources of companies responding to complaints.

Contracts Needed for Work Related to the Consumer Complaint Program
and Database Have Not Remained Intact and Operational

27. On February 11, 2025, the CFPB’s Chief Financial Officer, Jafnar Gueye, requested
that offices review a list of contracts to determine which, if any, directly supported a statutory
requirement. | reviewed the list of contracts managed by Consumer Response and determined that
five contracts directly supported a statutory requirement. All five contracts were nevertheless
terminated for convenience—afier it was determined that they were necessary to support statutory
requirements.

28. Since those terminations, following inquiries on the shutdown of Consumer
Response, the contract for the Consumer Resource Center has been reactivated. This contract
enables the CFPB to operate its toll-free telephone number. The Consumer Resource Center, which
handles several thousand calls on any given day, recently had an outage lasting an entire day,
meaning that nobody who called the CFPB’s toll-free number to speak to someone to have their
question answered, submit a complaint, or obtain a status update. Additionally, there is currently
no oversight of the Consumer Resource Center by the CFPB.

29. Contracts for the maintenance of complaint systems, including the case
management system and systems for sharing data, remain terminated.

30. Contracts managed by other offices but that affect complaint systems have also
been terminated. Among these contracts was a subscription to virus scanning software. Without
this software, most complaints cannot be sent to companies for review and response. Similarly,

consumers cannot access any attachments that companies may upload in response to the complaint.
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Although this contract was recently reinstated, the disruption in virus scanning software meant that
tens of thousands of complaints were not been promptly sent to companies and are now instead
part of a large backlog.

Whistleblower Disclosure

31. [have provided a copy of this declaration to the Office of Special Counsel pursuant
to the Whistleblower Protection Act. | am making this whistleblower disclosure based on my
reasonable belief that the conduct described in this declaration constitutes a violation of a federal

law and an abuse of authority. 5 U.S.C. § 2302(b)(8)(A).

eA

I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true
and correct.

Executed in Washington, DC this 26th day of February, 2025.

Matthew Pfa
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Exhibit A
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February 13, 2025]
Information Memo for the Acting Director

RS, Consume: Response &
Paes Education
SUBJECT Divisional Staffing
Select JSituational | LJRequest for | KiReply to CJ Draft
Applicable | Awareness | Directional | Inquiry from | Document
Information Feedback Director/FO | Feedback
Type(s) Request
Issue

This purpose of this memorandum is to provide information about how the staff of the Consumer
Response and Education Division align to the Consumer Financial Protection Bureau’s (CFPB’s)
statutory obligations.

Divisional Background

The Consumer Response and Education Division (CRE) is responsible for executing the CFPB’s
first two statutory functions: (1) conducting financial education programs, and (2) collecting,
investigating, and responding to consumer complaints. See 12 USC 5511(c)(1)}(2). CRE is the
public face of the CFPB to individuals and their families, delivering scalable services and tools
designed to empower consumers to share their experiences in the marketplace, respond to
challenges, and make better informed financial decisions.

There are two offices within CRE: the Office of Financial Education and the Office of Consumer
Response. Financial Education is responsible for managing a suite of more than 50 educational
tools and resources, distributing those tools to users, and researching the effectiveness of financial
education programs. Financial Education is also responsible for supporting the Director’s

ip in the Financial Literacy and Education Commission. Financial Education’s content
is some of the most frequently visited content on the CFPB’s website.

Consumer Response is responsible for answering questions, handling complaints, and sharing data
and insights. Consumer Response manages the CFPB’s toll-free number and complaint program
from end-to-end. Consumer Response is also responsible for assisting complaint process
stakeholders (¢.g., responding to congressional members with their constituents’ complaints,
assisting Company Portal users as they respond to their customer's concerns) and sharing
complaint information with Federal and State agencies.

The current headcount for CRE is approximately 150-155 full-time employees. The
functional areas listed below aligned to statutory responsibilities total approximately 80 to
85.
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Office of Financial Education

12 USC 5493(d) requires the Director to “establish an Office of Financial Education, which shall
be responsible for developing and implementing initiates intended to educate and empower
consumers to make better informed financial decisions.” There is one competitive area within the
Financial Education, responsible for delivering several statutory obligations:

¢ Developing and implementing initiatives intended to educate and empower consumers to
make better informed financial decisions. See 12 USC 5493(d)(1).

e Developing and implementing a strategy to improve the financial literacy of consumers
that includes measurable goals and objectives, in consultation with the Financial Literacy
and Education Commission. See 12 USC $493(d)(2).

* Coordinating with other units within the Bureau in carrying out its functions, including
working with the Community Affairs Office to implement the strategy to improve financial
literacy of consumers; and working with the research unit established by the Director to
conduct research related to consumer financial education and counseling. See 12 USC
$493(d)(3).

¢ Submitting a report on its financial literacy activities and strategy to improve financial
literacy of consumers See 12 USC 5493(d)(4).

The current headcount for this area is 12.

Office of Consumer Response
12 USC 5493(b)(3)(A) requires the Director to “establish a unit whose functions shall mclude
establishing a single, toll-free telephone number, a website, and a database ... to facilitate the
centralized collection of, monitoring of, and response to consumer complaints regarding consumer
financial products and or services.” 12 USC 5534(a) requires the CFPB “to provide a timely
response to consumers, in writing where appropriate, to complaints against, or inquiries

a covered person.” 15 USC 1681i(e) establishes a process by which the CFPB must
act and report out on certain credit and consumer reporting complaints. Consumer Response must
coordinate with certain CFPB offices and personnel, including the Private Student Loan
Ombudsman and Office of Servicemember Affairs. See 12 USC 5493(e), 12 USC 5535.

Consumer Response has several competitive areas:

Consumer Resource Center

12 USC 5493(b)(3)(A) directs the CFPB to create establish a single, toll-free number. This team
manages a Consumer Resource Center (CRC), which receives more than 40,000 calls per month.
The CRC answers consumers’ inquiries, accepts and provides status updates on complaints, and
directs consumers resources such as state and local services.

The current headcount for this area is 3.

Complaint Handling

12 USC 5534(a) requires the CFPB to timely respond to consumers, including any responses
received by the regulator from the covered person. This team directs the complaints to companies
for a response.
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The current headcount for this area is 7.

Portal Operations

12 USC 5534(b) requires certain covered persons to provide a timely response to the regulator.
This team is responsible for responding to stakeholder support tickets, including tickets submitted
by company, congressional, and government portal users.

The current headcount for this area is 7.

Mosaic Program

12 USC 5493(b)(3)(A) directs the CFPB to create establish a database to facilitate the centralized
collection of complaints. 12 USC 5493(b)(3)(D) requires the CFPB to share consumer complaint
information with prudential regulators, the Federal Trade Commission, other Federal agencies, and
State agencies. This team manages the technology that facilitates the handling of more than
350,000 complaints per month

The current headcount for this area is 5.

Investigations (Regulatory Compliance, Complaint Monitoring, Research and Analysis,
Escalation Case Management)

12 USC 5511(c)(2) requires the CFPB to “investigate” complaints. Additionally, 12 USC ~
5493(b)(3)(A) requires the CFPB to “monitor” complaints. This team is responsible for
monitoring and investigating the more than three million complaints the CFPB receives annually.
This team conducts investigative inquiries received by the Director’s Office. This team also
conducts analyses that support the Chief of Staff’s team efforts to meet the publication of statutory
reports and supports rule lookback assessments as required by 12 USC 5512.

The current headcount for this area is 30.

12 USC 5493(e) and 12 USC 5535 requires Consumer Response to coordinate with the Office of
Servicemember Affairs and the Private Student Loan Ombudsman, respectively, This team is.
responsible for working with these offices for their complaint monitoring Wi

The current headcount for this area is 4. |

Stakeholder Engagement | it cil
12 USC 5493(b)(3)(A) directs the CFPB to “coordinate with the Federal Trade Commission or
other Federal agencies to route complaints to such agencies, where appropriate.” Additionally, 12
USC 5493(b)(3)(D) requires the CFPB to “share consumer complaint information with prudential
regulators, the Federal Trade Commission, other Federal agencies, and State agencies ...”. This
team is responsible for working with federal and state agencies, including state Attorneys General.

The current headcount for this area is 5.
Chief of Staff Team r
Consumer Response is responsible for publishing or contributing to the publication of several

reports. Those reports include:

Consumer Response Annual Report (as required by 12 USC 5493(b\(3)(D))
Fair Credit Reporting Act 611(e) Report (as required by 15 USC 1681i(e5))
Fair Debt Collection Practices Act Report (as required by 15 USC 1692m)
CFPB Semi-Annual Reports (required by 12 USC 5496)

This team is responsible for the production and publication of these reports, including any follow-
up questions from oversight bodies.

The current headcount for this area is 5.

Management and Operations

This team provided the executive direction for both offices within the division, The current
divisional executives each have a dual role both division and office level executives. The office
level executive positions remain vacant. The team also provides centralized support to each office
regarding resource management functions including budget, acquisition management, training,
management reporting, and coordination with internal and external stakeholders, and oversight
bodies such as GAO and OIG. :

The current headcount for this area is 5.
